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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 KONINKLIJKE PHILIPS N.V. and                     )
 U.S. PHILIPS CORPORATION,                        )
                                                  )
                  Plaintiffs/Intervenor-          )
                  Defendants/Counterclaim         )
                  Plaintiffs in Intervention,     )
                                                  )
        v.                                        )   C.A. No. 15-1170 (GMS)
                                                  )
 ACER INC. and                                    )
 ACER AMERICA CORPORATION,                        )
                                                  )
                  Defendants,                     )
                                                  )
        and
                                                  )
                                                  )
 MICROSOFT CORPORATION,
                                                  )
                                                  )
                  Intervenor-Plaintiff/
                                                  )
                  Counterclaim Defendant in
                                                  )
                  Intervention,
                                                  )
        and                                       )
                                                  )
 MICROSOFT MOBILE INC.,                           )
                                                  )
                  Counterclaim Defendant in       )
                  Intervention.                   )


         NOTICE OF SUBPOENA TO, AND DEPOSITION OF, RAKESH TAORI

                PLEASE TAKE NOTICE that, under Rules 26 and 30 of the Federal Rules of

 Civil Procedure, Defendant in the above-captioned action and Intervenor-Plaintiff Microsoft

 Corporation will take the oral deposition of Rakesh Taori, before a notary public or other such

 officer authorized by law to administer oaths.

                The deposition will commence at 9:00 a.m., Eastern Standard Time, on

 February 7, 2017, at the law offices of Abernathy, Roeder, Boyd & Joplin, P.C., 1700 Redbud
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 Boulevard, Suite 300, McKinney, TX 75069-1210, and will continue from day to day until

 completed. The deposition will be recorded by stenographic and videographic means.

               Please take further notice that pursuant to Rule 45 of the Federal Rules of Civil

 Procedure, the deponent is hereby requested to produce the items identified in Attachment A to

 the attached subpoena.   Also attached to the subpoena includes stipulated protective order

 governing the handling and use of any protected materials produced in the above-captioned

 actions.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Rodger D. Smith II

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 January 24, 2018




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                           EXHIBIT 1
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                                   CERTIFICATE OF SERVICE

                 I hereby certify that on January 24, 2018, I caused the foregoing to be

 electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

 such filing to all registered participants.

                 I further certify that I caused copies of the foregoing document to be served on

 January 24, 2018, upon the following in the manner indicated:

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